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2023 APR -6 AML: 43 sc24
THE SUPERIOR COURT FOR THE COUNTY OF MONROE
LINDSE Y ‘eu. ar
Ve STATE OF GEORGIA
BY._VAOBERT W. eet
Petitioner, : Civil Action File
Vv. :
VICTORIA CHRISTIAN RUSSELL - No, 2023-SU-CV-0083
Respondent.

STALKING THREE YEAR/PERMANENT PROTECTIVE ORDER

A civil hearing was held on this matter on APRIL 6 , 2023 at which the
Respondent appeared and/or was provided with the opportunity to be heard and the Petitioner
requested, pursuant to O.C.G.A. §§ 16-5-94 (e) and 19-13-4 (c), that a permanent Protective Order
be issued. Having heard the evidence presented, reviewed the petition and the record conceming this
case and for good cause shown, IT IS HEREBY ORDERED AND ADJUDGED:

1. The Respondent has knowingly and willfully violated O.C.G.A. §§ 16-5-90 et seq.

{pcod!,o2} and placed the Petitioner in reasonable fear for the Petitioner’s safety, because
Respondent since Auguust 2021 has committed acts which have placed
petitioner & his family in reasonable fear for everyone's safety.
Respondent is hereby enjoined and restrained from doing or attempting to do, or
threatening to do any act constituting a violation of O.C.G.A. §§ 16-5-90 et seq. and
of harassing, interfering, or intimidating the Petitioner or Petitioner’s immediate family.
Any future acts committed by the Respondent towards the Petitioner which are in
violation of this statute and this Protective Order can amount to AGGRAVATED
STALKING, pursuant to 0.C.G.A. § 16-5-91, which is a felony. A person convicted
of Aggravated Stalking shall be punished by imprisonment for not less than I nor more
than 10 years and by a fine of not more than $10,000.00.

 

2. Respondent is permanently enjoined and restrained from approaching within 1000
[pco0i,04] yards of Petitioner and/or Petitioner’s immediate family, and/or residence,
place of employment, or school or subsequent residence, place of
employment or school.

3. Respondent is not to have any contact of any type, direct, indirect, or through
(pcoos) another person with the Petitioner or her/his immediate family, including but not limited
to telephone, fax, e-mail, or any other means of communication.

4, That this order be filed in the office of the Clerk of this Court.
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SO ORDERED this 6th day of APRIL

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This Order shall remain in effect permanently and shall not terminate unless modified by the
Court; OR

This Order shall be in effect for three (3) years and shall expire on
N/A - PERMANENT ORDER __,20 .

 

That this Order applies in every county throughout the state and it shall be the duty of
every court and every law enforcement official to enforce and carry out the provisions
of this Order pursuant to O.C.G.A. §§ 16-5-94 (e) and 19-13-4 (d). Law enforcement
may use their arrest powers pursuant to O.C.G.A. §§ 16-5-91 and 17-4-20 to enforce
the terms of this Order.

That this Court determined that it had jurisdiction over the parties and the subject matter
under the laws of the State of Georgia and Respondent received reasonable notice and
had the opportunity to be heard before this Order was issued sufficient to protect the
Respondent’s due process rights and this Order shall be presumed validand pursuant to18
U.S.C. § 2265(a) shall be accorded full faith and credit by any other state or local
jurisdiction and shall be enforced as if an Order of the enforcing state or jurisdiction.

ONLY the following that are initialed by the JUDGE shall apply:
Respondent is to receive appropriate psychiatric or psychological services.
Petitioner is awarded costs and attorney fees in the amount of $1,500**,
Petitioner/protected party is either a spouse, former spouse, parent of a common

child, child of Petitioner, child of Respondent, cohabitates or has cohabited with
Respondent and qualifies for 18 U.S.C. § 922(g)

E, SUP R COURT
MONROE County

WILLIAM A. FEARS
Print or stamp Judge’s name

Violation of the above Order may be punishable by arrest.

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NOTICE TO RESPONDENT
1. Violation of this Order may result in immediate arrest and criminal prosecution that may result in jail time
and/or fines and/or may subject you to prosecution and penalties for contempt of court.
2. This Order shall remain in effect unless specifically superseded by a subsequent signed and filed Order, by

operation of law, or by Order of dismissal, whichever occurs first. Only this Court can void, modify or dismiss
this Order. Either party may ask this Court to change or dismiss this Order.

3. If after a hearing, of which the Defendant reccived notice and opportunity to participate, a protective order is
issued which restrains Defendant from harassing, stalking or threatening an intimate partner, Defendant
is prohibited from possessing, receiving, or transporting a firearm or ammunition which has been shipped
or transported in interstate or foreign commerce for the duration of the Order. 18 U.S.C. § 922(g).

4. A person commits the offense of Aggravated Stalking when such person, in violation of a temporary or
Permanent protective Order prohibiting this behavior, follows, places under surveillance, or contacts
Petitioner on public or private property for the purpose of harassing and intimidating the other person. This
activity can subject the Respondent to arrest and prosecution for felony Aggravated Stalking, which carries
penalties of imprisonment for not less than 1 year nor more than 10 years and a fine of up to $10,000.00.

 

 

 
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Pursuant to O.C.G.A. Section § 19-13-3,
Petitioner assisted by

Name:
Address:

 

 

 

Telephone:

 

Note to Judges: This form is promulgated as a Uniform Superior Court Rule under the auspices of
O.C.G.A. § 19-13-53. To order a specific provision, please initial in the space provided. The court
should delete or otherwise make inoperative any provision in the standardized form which is not
supported by the evidence in the case and in order to comply with the court’s application of the law
and facts to an individual case.

 

 

 
